Case: 1:17-cv-03021 Document #: 16-1 Filed: 09/01/17 Page 1 of 7 PageID #:60




                           Exhibit A
     Case: 1:17-cv-03021 Document #: 16-1 Filed: 09/01/17 Page 2 of 7 PageID #:61



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS


TIM JON SEMMERLING,                                    )
THE MERCURY ENDEAVOR, LLC                              )
                                                       ) CASE NO. 1:17-cv-03021
                               Plaintiff,              )
                                                       )
v.                                                     )
                                                      ) DECLARATION OF
UNITED STATES OF AMERICA, ET AL.                      ) COLONEL PATRICKJ. WELLS
                                                      )
                               Defendants             )


                                            DECLARATION

        I, PATRICK 1. WELLS, Colonel, USAF, declare as follows:

        That I am currently assigned as Chief, Claims and Tort Litigation Division, Air Force

Legal Operations Agency, United States Air Force. As such, I have the responsibility under the

Air Force claims regulations for overseeing the administration of Air Force tort claims records.

       Accordingly, I have caused a search to be made of Air Force tort claims records for the

purpose of determining whether an administrative tort claim has ever been presented to the Air

Force on behalf of TIM JON SEMMERLING and/or THE MERCURY ENDEAVOR, LLC

related to the allegations contained within this complaint.

       The search involved querying the Web-based Armed Forces Claims Information

Management System (WebAFCIMS), which records all tort claims filed against the Air Force,

and the Claims and Tort Litigation Division network drive, where all electronic tort claims

adjudicated by Claims and Tort Litigation Division are stored. A search ofWebAFCIMS and

the Claims and Tort Litigation Division network drive disclosed that no claims were presented

by TIM JON SEMMERLING and/or THE MERCURY ENDEAVOR, LLC. Additionally, the
    Case: 1:17-cv-03021 Document #: 16-1 Filed: 09/01/17 Page 3 of 7 PageID #:62



 legal office at Scott AFB, IL conducted a search of all tort claim records in their possession.

 SEMMERLING has worked and practiced his mitigation services in Illinois since 2010. The

legal office at Joint Base Andrews, MD conducted a search of all tort claims records in their

. position. The Military Commissions Defense Organization is located in Washington D.C.

Representatives of those legal offices confirmed they had not received a tort claim from or on

behalf of TIM JON SEMMERLING and/or THE MERCURY ENDEAVOR, LLC.

        As a result, we have determined that no tort claim has been submitted to the Air Force

on behalf of TIM JON SEMMERLING and/or THE MERCURY ENDEAVOR, LLC.

       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed on the Ih~ay      of June, 2017 at Joint Base Andrews, Maryland.




                                       PATruCK J. WELL         olonel, USAF
                                       Chief, Claims & Tort Litigation Division
                                       Air Force Legal Operations Agency
                                       1500 West Perimeter Road, Suite 1700
                                       Joint Base Andrews, MD 20762
Case: 1:17-cv-03021 Document #: 16-1 Filed: 09/01/17 Page 4 of 7 PageID #:63
Case: 1:17-cv-03021 Document #: 16-1 Filed: 09/01/17 Page 5 of 7 PageID #:64
Case: 1:17-cv-03021 Document #: 16-1 Filed: 09/01/17 Page 6 of 7 PageID #:65
Case: 1:17-cv-03021 Document #: 16-1 Filed: 09/01/17 Page 7 of 7 PageID #:66
